             Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 1 of 7




 1                                                   The Honorable Ricardo S. Martinez
 2
 3
 4
 5
 6
 7
                         UNITED STATES DISTRICT COURT FOR THE
 8
                           WESTERN DISTRICT OF WASHINGTON
 9                                   AT SEATTLE
10
11      UNITED STATES OF AMERICA,                  NO. CR21-5290 RSM
12                      Plaintiff,
13                      v.                         GOVERNMENT SENTENCING
                                                   MEMORANDUM
14      LYNN MANLEY CARGILE,
15                      Defendant.
16
17         Over two years ago, Defendant Lynn Manley Cargile was involved in a domestic
18 dispute resulting in a multi-hour incident with law enforcement. Following his arrest,
19 investigators found Cargile’s firearms, that he could not legally possess, including a
20 short-barreled rifle and a .22 caliber rifle emblazoned with a swastika. Cargile now
21 comes before this Court for sentencing, having pled guilty to Felon in Possession of
22 Firearms, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).
23 The government request that this Court impose a sentence of 24 months’ imprisonment
24 followed by three years’ supervised release.
25 //
26 //
27
28

     Government’s Sentencing Memorandum - 1                               UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United State v. Cargile CR21-5290 RSM
                                                                               SEATTLE, WA 98101
                                                                                 (206) 553-7970
                 Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 2 of 7




 1                             I.      Nature and Circumstances of the Offense
 2         Relevant facts are detailed in the complaint (Dkt. No. 1), plea agreement1 (Dkt No.
 3 34) and the PSR. The Government supplements those accounts here.
 4         In late December 2019, Lynn Cargile’s ex-wife called 911 and reported that Cargile
 5 had shoved her and broken her phone, leading both she and Cargile’s mother to leave the
 6 house. As officers from the Battleground Police Department responded, Mandy informed
 7 them that Cargile not only had access to firearms, but had also been in possession of
 8 firearms in recent days. For several hours, officers unsuccessfully attempted to contact
 9 Cargile inside the house. Officers were ultimately required to use flash bang devices to
10 force him to emerge.
11         While searching the residence, officers found a Smith & Wesson AR .22 caliber rifle,
12 a Black Rain Ordnance short-barreled assault rifle, and two silencers. All four firearms
13 belonged to Cargile. Symbols associated with white supremacist views appear on both
14 the Smith & Wesson and one of the silencers:
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     1
         Dkt. 34 ¶ 9.
         Government’s Sentencing Memorandum - 2                             UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
         United State v. Cargile CR21-5290 RSM
                                                                                 SEATTLE, WA 98101
                                                                                   (206) 553-7970
              Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 3 of 7




 1
 2
 3
 4
 5
 6
 7
 8
            When questioned by officers, Cargile denied any wrongdoing. Officers noted
 9
     Cargile appeared heavily under the influence of drugs and needed to be prodded awake
10
     several times during the interview. After observing additional indicia of white
11
     supremacist views in Cargile’s bedroom, officers re-contacted Cargile and asked him
12
     about the AR rifle with the swastika, at which point, Cargile admitted, “all of the
13
     swastikas belong to me.”
14
            Following Cargile’s arrest, Clark County Superior Court charged him with several
15
     domestic violence related felonies. While in the Clark County Jail, Cargile made multiple
16
     recorded phone calls. During one call with his mother, Cargile asked her to contact his
17
     ex-wife to convince her to drop the charges. Cargile also spoke to an ex-girlfriend, who
18
     had purchased the short-barreled rifle for him. Cargile told his ex-girlfriend to “come
19
     home and fucking tell them that you forgot a gun in my room and I didn’t know about it.”
20
     In separate phone calls with his mother, Cargile told her she needed to “get a hold of that
21
     attorney and claim your AR-15.” Cargile’s mother responded, “I, I don’t even know … I
22
     had no idea they were under my bed … There was nothing supposed to be under my bed,
23
     or any bed, you know?”
24
                                II.     The Advisory Guidelines Range
25
            The parties agreed in the plea agreement that the base offense level of Cargile’s
26
     offense is 18, pursuant to USSG § 2K2.1(a)(5), because he possessed a firearm described
27
     in 26 U.S.C. § 5845(a). Dkt. 34 ¶ 9. The parties also agreed that the 2-level increase for
28
     possessing between 3 and 7 dangerous weapons applies, pursuant to USSG §
      Government’s Sentencing Memorandum - 3                                UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
      United State v. Cargile CR21-5290 RSM
                                                                                 SEATTLE, WA 98101
                                                                                   (206) 553-7970
             Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 4 of 7




 1 2K2.1(b)(1). Based on the above calculation, and with a full 3-level reduction for
 2 acceptance of responsibility under USSG § 3E1.1, Cargile’s total offense level would be
 3 17. At criminal history category VI, the resulting advisory Guidelines range would be
 4 51-63 months’ imprisonment.
 5         The U.S. Probation Office calculated Cargile’s base offense level as 20 (rather
 6 than 18) on the ground that Cargile was also a prohibited person at the time he committed
 7 the offense, such that the provision of USSG § 2K2.1(a)(4) applies. With the same 2-
 8 level increase for possessing four firearms, and a 3-level decrease for acceptance of
 9 responsibility, the Probation Office calculates his total offense level as 19. The resulting
10 advisory Guidelines range as calculated by the Probation Office is 63 to 78 months.
11                                      III. Sentencing Factors
12         All sentencing proceedings must begin by determining the applicable Guidelines
13 range—the starting point and initial benchmark, which must “be kept in mind throughout
14 the process.” United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en banc) (citations
15 omitted). After correctly calculating the Guidelines and hearing from the parties, the Court
16 should then consider the 18 U.S.C. § 3553(a) factors. And if the Court determines that a
17 sentence outside the Guidelines is warranted, the Court “must consider the extent of the
18 deviation and ensure that the justification is sufficiently compelling to support the degree
19 of the variance.” Id. (citation and quotation marks omitted).
20         The United States’ recommendation is driven by both Cargile’s history and the
21 concerning and dangerous conduct underlying this charge, to include an hours long stand-
22 off with law enforcement. The firearm offense that brings him before this Court for
23 sentencing exemplifies how his criminal conduct harms the community. Here, the
24 Guidelines and the other § 3553(a) factors support the 24-month sentencing
25 recommendation.
26
27
28

     Government’s Sentencing Memorandum - 4                               UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United State v. Cargile CR21-5290 RSM
                                                                               SEATTLE, WA 98101
                                                                                 (206) 553-7970
                Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 5 of 7




 1         1.       Seriousness of the Offense and Promoting Respect for the Law, Provision of
 2 Just Punishment and Deterrence
 3         Not only is unlawful possession of a firearm a serious offense, but the
 4 circumstances surrounding Cargile’s arrest are also extremely serious. Law enforcement
 5 arrived at Cargile’s residence in response to a domestic violence offense. Despite
 6 multiple attempts to contact Cargile, a standoff lasting several hours ensued, during
 7 which law enforcement saw Cargile look out of the residence. Another officer noted that
 8 the blinds in Cargile’s mother’s room (where the suppressors and AR Rifle with the
 9 swastika were ultimately located) were raised several inches during the standoff.
10 Ultimately, SWAT deployed flash bang grenades which forced Cargile to leave the
11 residence. This conduct generated a risk of serious harm—to the officers, to Cargile, or to
12 innocent bystanders.
13         Cargile’s conduct following his arrest was also highly troubling. Investigators
14 monitored Cargile’s jail phone calls following his arrest and heard Cargile admit he was a
15 member of the Aryan Front. During multiple calls with his mother, Cargile asked her to
16 contact his girlfriend to convince her to drop the charges. Cargile also spoke to an ex-
17 girlfriend, and told her to, “come home and fucking tell them that you forgot a gun in my
18 room and I didn’t know about it.”
19         In March 2020, Cargile called his mother and told her, “It’s real fuckin’, it’s real
20 important though that you get a hold of that attorney and claim your AR-15.” His mother
21 responded, “I, I don’t even know…I had no idea they were under my bed…There was
22 nothing supposed to be under my bed, or any bed, you know?” Cargile responded, “All I
23 know is they were all your guns.”
24          These attempts to convince others to obstruct justice exacerbate Cargile’s
25 underlying criminal conduct. Cargile attempted to convince two separate witnesses to lie
26 to the court to assist him in evading justice. Tampering with witnesses obviously
27 interferes with the proper working order of the criminal justice system.
28

     Government’s Sentencing Memorandum - 5                                UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United State v. Cargile CR21-5290 RSM
                                                                                SEATTLE, WA 98101
                                                                                  (206) 553-7970
                Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 6 of 7




 1         For over twenty years, Cargile has not been allowed to legally possess a firearm.
 2 During that time, Cargile continued to accrue felony convictions, with multiple state
 3 courts advising him that he could not legally possess firearms. Cargile’s decision to defy
 4 court orders and continue possessing firearms—with a full understanding of the
 5 consequences for doing so—can at this point only be described as willful disregard for
 6 prior court orders and for the law.
 7         “With regard to the concept of deterrence, the Court must consider both the
 8 specific deterrence of the defendant before the Court and the deterrence of other people
 9 who may be inclined to commit similar crimes.” United States v. Harder, 144 F. Supp.
10 3d. 1233, 1240 (D. Or. 2015). Clearly, Cargile’s prior periods of incarceration did not
11 deter him from engaging in the instant offense. Given the nature and length of the
12 Cargile’s criminal history, there is a need for the Court’s sentence to afford adequate
13 deterrence to him specifically.
14         A 24-month sentence is therefore needed to ensure just punishment and to deter
15 future conduct should Cargile subsequently run afoul of the law.
16         2.       Characteristics of Defendant and Protection of the Community
17         Cargile is not a first-time offender in any sense of the word. His first conviction
18 for unlawful possession of a firearm is from 1999. For two decades, Cargile has been
19 unlawfully possessing firearms in this district.
20         Cargile’s criminal history also includes numerous episodes of violent conduct. He
21 has multiple assault convictions and multiple convictions for malicious mischief or
22 disorderly conduct, with different named victims. He also has numerous obstruction-
23 related convictions, including for attempting to elude, resisting arrest, and violating a no-
24 contact order. Cargile’s willingness to continue to flout the prohibition on his possession
25 of firearms—while attracting the attention of local police by assaulting others and
26 engaging in an hours-long standoff—indicates an unwillingness to change and an
27 aversion to rehabilitation. The community must therefore be protected from an individual
28 who is willing to continuously possess firearms, elude police, and engage in standoffs.

     Government’s Sentencing Memorandum - 6                                UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United State v. Cargile CR21-5290 RSM
                                                                                SEATTLE, WA 98101
                                                                                  (206) 553-7970
             Case 3:21-cr-05290-RSM Document 45 Filed 04/18/22 Page 7 of 7




 1         Also, at least at the time of this offense, Cargile was a white supremacist affiliated
 2 with the Aryan Front. Though he may disavow any current ties with this group, only time
 3 will tell whether Cargile is sincere in his claim. The defendant has been unable to avoid
 4 committing crimes while living in the community. A prison sentence is necessary to
 5 protect the public from his criminal conduct.
 6                                            IV. CONCLUSION
 7         The defendant’s offense—particularly when viewed in light of his criminal
 8 history—weighs in favor of a significant period of incarceration. The government requests
 9 that the Court impose a sentence of 24 months’ imprisonment.
10         DATED this 18th day of April, 2022.
11
12                                                    Respectfully submitted,
13                                                    NICHOLAS W. BROWN
                                                      United States Attorney
14
15
                                                      /s/ William Dreher
16                                                    Assistant United States Attorney
                                                      United States Attorney’s Office
17
                                                      700 Stewart Street, Suite 5220
18                                                    Seattle, WA 98101
19
20
21
22
23
24
25
26
27
28

     Government’s Sentencing Memorandum - 7                                UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United State v. Cargile CR21-5290 RSM
                                                                                SEATTLE, WA 98101
                                                                                  (206) 553-7970
